Case

 

ALEX G. TOVARIAN, CA SBN 264547
alex(@tovarianlaw.com

LAW OFFICE OF ALEX TOVARIAN
850 Montgomery Street, Suite 300

San Francisco, CA 94133

Telephone: (415) 984-9990

Facsimile: (415) 520-5830

 

Attorneys for Plaintiff Aram Sargsyan
Additional Counsel Listed on Next Page

ARAM SARGSYAN, individually, and on behalf of
all others similarly situated,

Plaintiff,
Vv.

EMPIRE TWIN PALMS, LLC; Al, A CA
COMMERCIAL CANNABIS ASSOCIATION, INC.,

Defendants.

 

 

RAINES FELDMAN LLP

John §. Cha (State Bar No. 129115)
jcha@raineslaw.com

Nathan M. Carle (State Bar No. 304846)
ncearle@raineslaw.com

18401 Von Karman Ave., Suite 360
Irvine, California 92612

Telephone: (310) 440-4100

Facsimile: (424) 239-1613

6:21-cv-00122-JWH-KK Document 29 Filed 11/05/21 Page1lof2 Page ID #:121

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
(EASTERN DIVISION)

Ne. 521-cev-00122-IWH-KE

JOINT STIPULATION FOR
DISMISSAL WITH PREJUDICE,
PURSUANT TO FEDERAL RULE
OF CIVIL PROCEDURE 41(A)(1)

Complaint Filed: January 22, 2021
Trial Date: Not set

[CONTINUED LIST OF COUNSEL]

Aitorneys for Defendants Empire Twin Palms, LLC;
and Al, a CA Commercial Cannabis Association, Inc.

 

 

 

SARGSYAN V. EMPIRE TWIN PALMS, LLC, ET AL.
JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

 
Case

“aD

oo

10
11
12

14
15
16
17
18
19
20
21
9
23
24
25
26
27
28

:21-Ccv-00122-JWH-KK Document 29 Filed 11/05/21 Page 2of2 Page ID #:122

PLAINTIFF, ARAM SARGSYAN, BY AND THROUGH HIS COUNSEL OF RECORD
AND EMPIRE TWIN PALMS, LLC; Al, A CA COMMERCIAL CANNABIS ASSOCIATION,
INC., BY AND THROUGH THEIR COUNSEL OF RECORD, HEREBY STIPULATE AS
FOLLOWS:

Pursuant to Federal Rules of Civil Procedure, Rules 41(a)(1)(A)(ii) and 41(a)(1)(B),
Plaintiff, Aram Sargsyan, and Defendants Empire Twin Palms, LLC; Al, a CA Commercial
Cannabis Association, Inc. submit this joint stipulation to request the dismissal of all claims
asserted against all Defendants with prejudice, each party to bear their own attorneys’ fees and

costs.

|

LAW oni: ALEX TOVARIAN
By: i |

dex Gi Tovarian
Atyornsy or Plaintiff

DATED: November 5, 2021

DATED: November 5, 2021 RAINES FELDMAN LLP

py: Je Se Gha

John S. Cha
Attorneys for Defendants

 

 

SARGSYAN V. EMPIRE TWIN PALMS, LLC, ET AL.
JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

 

 

 

 
